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 8
 9                         UNITED STATES DISTRICT COURT
10               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
11
12 IRONHAWK TECHNOLOGIES, INC.,                  Case No. 2:18-cv-01481-DDP-JEM
   a Delaware Corporation,
13
                                                 PLAINTIFF IRONHAWK
14              Plaintiff and                    TECHNOLOGIES, INC.’S
                Counterdefendant,                WITNESS LIST
15
         vs.
16                                               Judge: Hon. Dean D. Pregerson
   DROPBOX, INC., a Delaware
17 corporation,
                                                 Trial Date: October 22, 2019
18                                               Final Pre-Trial Conf. : October 7, 2019
                Defendant and
19              Counterclaimant.
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                      PLAINTIFF IRONHAWK TECHNOLOGIES, INC.’S WITNESS LIST
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 1                                 PLAINTIFF’S WITNESS LIST
 2               Pursuant to Federal Rule of Civil Procedure 26(a)(3)(A) and Local Rule 16-
 3 2.4 and 16.5, Plaintiff Ironhawk Technologies, Inc. (“Ironhawk”) hereby submits the
 4 following list of witnesses that Ironhawk expects to call at trial. Witnesses that
 5 Ironhawk may call at trial are identified using an asterisk next to the name of the
 6 witness. Ironhawk also reserves the right to call any witness disclosed by Defendant
 7 in its witness list.
 8
 9    Andrew Houston
10    Employee of Defendant Dropbox, Inc.
11    c/o Covington & Burling LLP
12    Salesforce Tower, 415 Mission Street, Suite 5400
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16    Antonio Sarabia*
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22    Bradford Lightcap
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                          PLAINTIFF IRONHAWK TECHNOLOGIES, INC.’S WITNESS LIST
Case 2:18-cv-01481-DDP-JEM Document 184 Filed 09/16/19 Page 3 of 10 Page ID
                                #:11866



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13    David Peyton
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15    c/o Stacey Blaustein, Esq.
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                       PLAINTIFF IRONHAWK TECHNOLOGIES, INC.’S WITNESS LIST
Case 2:18-cv-01481-DDP-JEM Document 184 Filed 09/16/19 Page 4 of 10 Page ID
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                       PLAINTIFF IRONHAWK TECHNOLOGIES, INC.’S WITNESS LIST
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                       PLAINTIFF IRONHAWK TECHNOLOGIES, INC.’S WITNESS LIST
Case 2:18-cv-01481-DDP-JEM Document 184 Filed 09/16/19 Page 6 of 10 Page ID
                                #:11869



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 7    Nina Han*
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                       PLAINTIFF IRONHAWK TECHNOLOGIES, INC.’S WITNESS LIST
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                                #:11870



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 8    Robert Wunderlich
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20    Susan Indermill
21    (via videotaped deposition)
22    Gregg Nivala, Esq.
23    CACI
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25    Arlington, Virginia 22201
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                       PLAINTIFF IRONHAWK TECHNOLOGIES, INC.’S WITNESS LIST
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                                #:11871



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 8 Dated: September 16, 2019              BROWNE GEORGE ROSS LLP
 9                                           Keith J. Wesley
                                             Lori Sambol Brody
10                                           Matthew L. Venezia
11
                                          By:        /s/Matthew L. Venezia
12                                                   Matthew L. Venezia
13                                        Attorneys for Plaintiff and Counterdefendant
                                          Ironhawk Technologies, Inc.
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                       PLAINTIFF IRONHAWK TECHNOLOGIES, INC.’S WITNESS LIST
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 1                                   CERTIFICATE OF SERVICE
 2               I hereby certify that on this 16th day of September, 2019, I electronically filed
 3 the foregoing PLAINTIFF IRONHAWK TECHNOLOGIES, INC.’S
 4 WITNESS LIST with the Clerk of the Court using the CM/ECF system which will
 5 send notification of such filing to the following:
 6                                          SERVICE LIST
 7                         Ironhawk Technologies, Inc. vs. Dropbox, Inc.
                         USDC CD CA Case No. 2:18-cv-01481-DDP(JEMx)
 8
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        Sabrina A. Larson                                    Counterclaimant
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        Nicolas T. Herrera
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                           PLAINTIFF IRONHAWK TECHNOLOGIES, INC.’S WITNESS LIST
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